Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 1 of 20

JUDGE SULLIVAN

e ESR AY
UNITED STATES DISTRICT COURT aus Se Oe OG 53
FOR THE SOUTHERN DISTRICT OF NEW YORK ”
-- x

SCOTT K.H. BESSENT,

Plaintiff,

¥.

WILLIAM F. TRINKLE,

Defendant.
ee ee nae x

Plaintiff Scott K.H. Bessent, by and through his attorneys, BLANK ROME LLP,
as and for his Complaint against William F. Trinkle, alleges as follows:

NATURE OF ACTION

l. As alleged more fully herein below, this action seeks the following: (i) Two-
‘Million dollars ($2,000,000.00) in principal amount that Plaintiff loaned to Defendant pursuant
to a Mortgage Note, and secured by a Mortgage, which became due and owing on March 31,
2010; (ii) interest that has accrued on the principal amount and is calculated at a compounded
rate of 5.8% from September 1, 2008, to March 31, 2010; (iii) interest that has accrued, and
continues to accrue, on the principal amount and is calculated at a compounded, default rate of

11.6% from April 1, 2010, to the date of full payment and satisfaction of all sums due and owing
to Plaintiff: and (iv) the costs and expenses associated with the collection, and enforcements, of
‘payment under the Mortgage Note and Mortgage, including reasonable attorneys’ fees and

related disbursement expenses.
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 2 of 20

PARTIES
2. Plaintiff Scott K.H. Bessent (“Bessent”) is a domiciliary of the State of Florida
and currently resides at. 92 La Gorce Circle, Miami Beach, Florida 33141.
3. Upon information and belief, Defendant William F. Trinkle (“Trinkle”) isa
domiciliary of New York State and currently resides at 252 Seventh Avenue, Apt 18C, New
York, New York 10001.

JURISDICTION AND VENUE

4, This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) in
that the Plaintiff is a citizen of the State of Florida, the Defendant is a citizen of the State of New
York, and the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.

5. This Court has jurisdiction over this matter in that the defendant is a domiciliary
of the State of New York.

6. Venue is proper in this district pursuant to 28 U.S.C. § 1391(a)(1) because the
Defendant resides in New York City in the State of New York and 28 U.S.C. § 1391(a)(2) in that

a substantial part of the events or omissions giving rise to the claims occurred in the Southern

District of New York.
FACTUAL BACKGROUND
The Mortgage Note and Mortgage
7. In August of 2008, Bessent agreed to loan Trinkle the principal amount of two —

million dollars ($2,000,000.00) (the “Loan”). The Loan is evidenced by a Mortgage Note (the
“Note”) and secured by a Mortgage, each dated August 15, 2008.
8. On August 15, 2008, Defendant executed the Note, a copy of which is annexed

hereto as Exhibit A, and incorporated herein as if set forth at length.
2
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 3 of 20

9. By the terms of the Note, Defendant agreed to pay Plaintiff the principal sum of
$2,000,000.00 with interest thereon to be computed, on a compounded basis, from the date of the
Note at a rate of 5.8 percent (5.8%) per annum, with payment to commence on September 1,
2008, and to continue each month thereafter, and added to principal and accrue interest thereon,
if not paid.

10. The entire unpaid principal balance and interest accrued on the Note became due
and payable on March 31, 2010 (the “Maturity Date”). The Note provides in pertinent part:

“The entire principal together with any accrued interest shall be
due and payable on or before March 31, 2010.”

See Exhibit A.

11. The Note further provides, and Defendant agreed and promised, that in the event
of default in the payment of principal on or before March 31, 2010, the principal amount of the
Note will accrue interest at a default rate of 11.6 percent (11.6%) per annum, or the highest rate
permitted by law, whichever is less, until full payment is made. Under the current law of New
York State, the default rate of 11.6% per annum applies to the outstanding balance due and
owing by Trinkle.

12. The Note also provides that upon default in making payment, the Defendant
agreed and promised to pay all legal fees and costs of the collection process.

13. From March 31, 2010, to date, Defendant has failed to pay the principal balance
of two-million ($2,000,000.00) and all interest that has accrued thereon.

14. As Collateral for the Loan and security for the Note, Trinkle executed a Mortgage
on August 15, 2008, granting Bessent, inter alia, all rights, title and interest in certain property as

more specifically defined in the Note and Schedule A annexed to the Mortgage. See Exhibit A.

3
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 4 of 20

15. The Mortgage between Defendant, as mortgagor, and Plaintiff, as mortgagee,
secures the payment of Defendant’s indebtedness as set forth in the Note. More specifically, the
Mortgage provides in pertinent part:

This Mortgage ... [is] to secure the payment of an indebtedness in
the sum of Two Million ($2,000,000.00) ... to be paid with interest
thereon to be computed from [August 15, 2008], at the rate of 5.8
per centum per annum, and to be paid on the 1° day of September,
in the year 2008, and each month thereafter, until March 31, 2010,

when any outstanding principal and interest will become due
according to a certain ... note ... bearing even date herewith ....

Id.

16. From March 31, 2010, to date, Defendant has defaulted on his obligations
pursuant to the Note and the Mortgage.

17. On April 30, 2010, Bessent issued a default notice to Trinkle. A copy of
. Bessent’s counsel’s letter to William Trinkle, dated April 30, 2010, is annexed hereto as Exhibit
B and incorporated herein as it set forth at length. The default notice letter stated the events of
default under the Note and Mortgage and reserved all of Bessent’s rights and remedies.

18. Trinkle has failed to cure his defaults under the Note and the Mortgage.

19. Upon the occurrence of default, among other things, the entire outstanding
principal amount owed, plus interest and expenses, at the pre- and post-default rate of interest,
including reasonable attorneys’ fees incurred by Bessent in collecting and enforcing payment
under the Note and under the terms of the Mortgage securing the Note, immediately became due
and payable at the option of Bessent without regard to “presentment for payment, notice of

dishonor, protest and notice of protest,” all of which Defendant expressly waived.
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 5of 20

CLAIM FOR RELIEF
(BREACH OF CONTRACT)

20. Plaintiff repeats and realleges Paragraphs 1 through 19 of this Complaint as if
fully set forth herein.

21. As of March 31, 2010, Defendant has failed to pay the principal sum of Two
Million Dollars ($2,000,000.00) and to date, all the interest that has accrued thereon.

22. Defendant is now in default on the Note and has breached the terms of the Note.

23. Trinkle owes Bessent $2,000,000.00 under the Note, together with interest at the
rate of 5.8% per annum prior to March 31, 2010, and at the default rate of 11.6% per annum
from March 31, 2010 to the date of Judgment, compounded until paid and satisfied in full.

24. Under the Note, Trinkle agreed to pay all costs and expenses, including
reasonable attorneys’ fees and expenses, incurred by Bessent in, connection with the collection of
all amounts due, owing and outstanding pursuant to the Note.

25. By reason of the foregoing, Bessent is entitled to a Judgment against Trinkle in an
amount to be more fully determined at trial, but not less than $2,000,000.00, plus interest
thereon, which has accrued and continues to accrue at the compound rate of 5.8% per annum
prior to March 31, 2010, and at the compound rate of 11.6% per annum after March 31, 2010,
until payment in full satisfaction of all amounts due and owing by Trinkle, plus reasonable costs
and expenses, including counsel fees and expenses, incurred in connection with the collection of
all amounts due, owing and outstanding under the Note, in an amount to be more specifically

determined at trial.
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 6 of 20

WHEREFORE, Plaintiff demands judgment against Defendant at trial as follows:

(a) A Judgment in favor of Bessent in an amount to be
determined more fully at trial, but not less than
$2,000,000.00 in unpaid principal, together with compound
interest, which has accrued and continues to accrue at the
rates set forth in the Note, plus the costs and expenses,
including reasonable attorneys’ fees and expenses, incurred
by Bessent in connection with the collection of all amounts
due, owing and outstanding under the Note, in an amount to
be more fully determined at trial; and

(b) For such other and further relief as this Court deems just
and proper.

Dated: New York, New York

June 23, 2010
BLANK ROME LLP

» kW Shun

Philippe@f. Salomopt(PS-5365)
The Chrysler Building

405 Lexington Avenue

New York, New York 10174
(212) 885-5455

Attorney for Plaintiff Scott K.H. Bessent
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 7 of 20

Exhibit A
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 8 of 20

CONSULT YOUR LAWYER BEFORE 5

Form 8017 Morigege Note. indhiduat or Corporation, (Straight or instalment) f { } P
IGNING THIS INSTRUMENT - THIS INSTRUMENT SHOULD BE USED BY.LAWYERS DNLY 2

_ MORTGAGE NOTE
$ 2,000,000.00 New York, New York, — august |S, 20 08

FOR VALUE RECEIVED,
William F. Trinkte, having an address at
262 Seventh Avenue, Apt. 18C, New York, New York 10004

promise to pay to
Scott K. H. Bessent

or order, at 1 Sutton Place South, 7B, New York, New York 10022
or at such other place as may be designated in wtiting by the holder of this note, the principal sum of

Two Million. ($2,000,600.00) Dollars by fiarch 34, 2010

with interest thereon to be computed from the date hereof at the rate of 5.8 per centumi per annum,
and to be paid on the {st day of September 2008 HOKODEKKRE and
each month thereafter and shail be added to the principal on sald date arid accrue interest as such, not pald. The entire

principal together with any acciued but unpatd Interest shall ba due and payable on ar before March 31, 2070. All or any.part of{tie
‘principal may be prepaid at any time arid from-time to time without penalty, Payments shall first be appBed.to acctued interest endthe
balance to the principal. Inthe event of a default-ln the payment of principal on or before March 31, 2010, the principal amount of the note

shall accrue Interest at a default rate of 11.6% par annum, or the highest rate pennitied by law, whichever is less, until payment. Upon
default in making payment, ttie-Borrower agrees to pay all legal teas. and costs of collection to the extent permitted by law.

{T IS HEREBY EXPRESSLY AGREED, that the sdid principal sum secured by this note shall become dee.
at the option of the holder thereof on the happening of any default or event by which, under the.terms of
the mortgage sécuring this note, said. principal sum may or shall become due and payable; also, that all of
the covenants, conditions and agreements contained in said mortgage are hereby made part of this

instrument.
Presentment for payment, notice of dishonor, protest and notice of protest are hereby: waived. 4

This note is secured by a mortgage made by the maker to the payee of even date herewith, on property

situate in. the See Schedule A.
This note replaces and supersedes the promissory term note between

2006 In the original principal amount of $1,526,060.00.
This note.may not be changed or terminated orally.

the above parties dated March 8,

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 9 of 20

STATE OF NEW YORK. county oF fla/ To (A

On the IS Aes Bingust 2008 On the -
before me, the undersign personally appeared before me, the undersigned, personally appeared

ba Uren T- Tink le. .

personally known to mg or proved to me on. the basis of personally known to me or proved to.me on the basis of
satisfactory evidence to be the individual(s) whose satisfactory evidence to. be the individual(s} whose
name(s) is (are) subscribed to. the within instrument and name(s) is (are) subscribed to the within instrament and
acknowledged to me that hefshe/they executed the same in acknowledged to me that he/she/they executed the same in

- hisfher/their capacity(ies), and. that, by his/her/their his/herftheir capacity(ies), and that by his/her/their
signature(s) on the instrument, the individual(s), or the signature(s) on the instrument, the individual(s), or the
person upon behalf of which the individual(s) acted, person upon. behalf of which the individual(s) acted,
executed the instrument ‘executed the instrument

§&: STATE OF NEW YORK. COUNTY OF SS:

(signature and office of individual taking acknowledgnient)

S8:
before me, the undersigned, personally appeared

‘On the |
on the basis of satisfactory evidence to be the individual(s) whose name(s) is (are)

personally known to me or proved to me.on th
subscribed to the- within instrument an acknowledged to mie that hefshethey executed the same in his/her/their

capacity(ies), and that by his/her/their signatures) on the instrument, the individual(s), or the person upon behalf of which
the individual(s) acted, executed the instrument, and that such individual made such appearance before the undersigned in

the

in :
(insert the City or other political subdivision) . (and insert the State or Country or other place the acknowledgment was taken)

(signature and office of individual taking acknowledgment)

Mortgage Hate . SECTION

TITLE NO. BLOCK
LOT
William F. Trinkle COUNTY OR TOWN
WITH :
Scott K. H. Bessent STREET ADDRESS

Return by Mail to

Zip No.

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 10 of 20

Schedule A Description

Title Number 07-20303-S-P Polley Number: 1202023-0036260 Page 1

All that certain plot, piece or parcel of land, situate, lying and being In the Town of
East Hampton, at East Hampton, County of Suffolk and State of New York, being
known and designated as Lot 1 on a certain map entitled, “Map of 10A Ranch," said
map was filed in the Office of the Clerk of Suffolk County on 07-15-1999 as Map No,

10311.

\
- 98

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 11 of 20

Form BOLS Mortgage (Sobordinate) Individual or Corporation.
CONSULT YOUR LAWYER BEFORE SIGNING THIS INSTRUMENT-——TEIS INSTRUMENT SHOULD BE USED BY LAWYERS ONLY.

“‘THISMORTGAGE, made the (Say of August, 2008

BETWEEN the mortgagor,

Willlain F, Triukle,
having an address at 252 Seventh Avenue, Apt. 18C, New York, New York 10001

and the mortgagee, .

Scott K. H. Bessent,
having an address at 1 Sutton Place South, 7B, New York, New York 10022

WITNESSETH, that to secure the payment of an indebtedness in the sum of Two Million ($2,000,000, 00)

lawfiil money of the United States, to be paid

with interest thereon to be computed from the date hereof, at the rate of 5,8. - per centum
per annum, and to be paid on the Ist day of September |, ID the year 20 08 , necbouning and
each month thereafter, until March 31, 2010 when any outstanding principal and interest will
- Hecome dua
‘ according to a certain bond,

note or obligation béaring even date herewith, the mortgagor hereby mortgages to the mortgagee

ALL that certain plot, piece or parcel of land, with the buildings and improvements thereon erected,
being in the See Attached Schedule A.

situate, lying and

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 12 of 20

TOGETHER with all right, title and interest of the mortgagor in and to the land lying in the streets and roads in front

of and adjoining said premises;

TOGETHER with all fixtures, chattels and articles of personal property now or hereafter attached to or used in
connection with said premises, including but not limited to furnaces, bowers, oil burners, radiators and piping, coal
stokers, plumbing and bathroom fixtures, refrigeration, air conditioning and sprinkler systems wash-tubs, sinks, gas
and electric fixtures, stoves, ranges, awnings, scrcens, window shades, elevators, motors, os, refrigerators
kitchen cabinets, incinerators, plants and shrubbery aud all other equipment and machinety, appliances, fittings, an
fixtures of every Kind in or used in the operation of the buildings stan ing on said premises, together with any and all

replacements thereof and additions thereto;

TOGETHER with all awards heretofore and hereafter made to the mortgagor for taking by emincat domain the whole .
or any part of said premises or any easement therein, including any awards for changes of grade of streets, which said
awards are hereby assigned to the mortgagee, who is hereby authorized to collect and receive the proceeds of such
awards and to give proper receipts and acquittances therefor, and to apply the same toward the payment of the
mortgage debt, notwithstanding the fact that the amount owing thereon may not then be due and payable; and the said
mortgagor hereby agrees, upon request, to make, execute and deliver any and all assignments and other instruments
sufficient for the purpose of assigning said awards to the mortgages, free, clear and discharged of any encumbrances of

any kind or nature whatsoever.
AND the mortgagor covenants with the mortgagee as follows:
}. ‘That the mortgagor will pay the indebtedness as hereinbefore provided.

2. That the mortgagor will keep the bulidings oa the premises. insured against loss by fire for the benefit of the
mortgagee; that he will assign an deliver the policies to the mortgages; and that he will reimburse the morigages for

any premiums paid for insurance made by the mortgagee on the mortgagor's default in so insuring the buildings or in

so assigning and delivering the policies.
3. That no building on the premises shall be altered,

4, That the whole of said princi a1 Sui and interest:shall, become due.at. the option of the. mortgages; after default in
the payment of any installment of principal! or of interest for fifteen days; or after default in the payment of any tax,
water rate, sewer rent or assessment for ‘thirty days after notice and demand; or after default after notice and demand
either in assigning and delivering the policies insuring the buildings against. loss by fire or in reimbursing the
mortgagee for premiums paid on such insurance, as hereinbefore provided; or after default upon request.in furnishing a
statement of the amount due on the mortgage and whether any offsets or. defenses exist.against the mottgage debt, as
hereinafter provided. ‘An assessment which has been made payable in installments at the application of the mortgagor
or lessee of the premises shall nevertheless, for the purpose of this paragraph, be deemed due and payable in its

entirety on the day the first installment becomes due or payable or a lien.
it, shall be entitled to the appointment of areceiver.

removed or demolished without the consent of the mortgagee.

5, That the holder of this mortgage, in any action to foreclose

6. That the mortgagor will pay -all-taxes,-essassments; sewer-rents-or--water-rates;—and- 4in-default--thereof,-the -
mortgagee may pay the same. ,

7. That the mortgagor within five days upon request in person or within ten days upon request by mail-will furnish 4
written statement duly acknowledged of the amount due on this mortgage and whether any offsets or defenses exist
against the mortgage debt.

8. That notice and demand or request may be in writing and may be served in. person or by mail.

9. That the mortgagor warrants the title to the premises.
10. That the fire insurance policies required by paragraph No. 2 above shall contain the
endorsement; that in addition thereto the mortgagor, within thirty days after notice and demand, will keep the premises
insured against war risk and any other hazard that may reasonably be required by the mortgagee. All of the provisions
of paragraphs No, 2 and No. 4 above relating to fire insurance and the provisions of Section 254 of the Real Property
Law coristruing the same shall apply to the additional ,
insurance required by this paragraph.

Ll}, That in case ofa foreclosure sale, said premises,
sold in one parcel. .

12. Thatifany action or proceeding be commenced (except an action to foreclose this mortga
secured thereby), to-which action or proceeding the mortgagee is made a party, or in which it becomes necessary to
defend or uphold the lien of this mortgage, all sums paid by the mortgagee for itigati

rosecuto or defend the rights and lien created by this mortgage Gneluding reasonabl
the mortgagor, together with interest thereon at tie rate of six per cent. per annum,
thereon shall be a lien on said premises, prior to any right, or title to, interest in or cl

‘or accruing subsequent to the lien of this mortgage, and shall be deemed to-be secured
or proceeding to foreclose this mortgage, or to recover or collect the debt secured thereby, the provisions of law

respecting the recovering of costs, disbursements and allowances shall prevail unafie

usual extended coverage

or so auch thereof as may be affected by this mortgage, may be

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 13 of 20

13. That the mortgagor hereby assigns to the mortgagee the rents, issues and profits of the premises as further security
| right fo enter upon and to take

for the payment of said indebtedness, and the mortgagor fants to the mortgagee the 5
possession of the premises for the purpose of collecting the same and to let the premises or any part thereof, and to
ch and , on account of said

apply the rents, issues and profits, after paymeat of all necessary charges and expenses :
indebtedness. This assignment and grant shall continue in effect until this mortgage 1s paid The mortgagee hereby
waives the right to enter upon and to take possession of said. premises for the purpose of collecting said rents, issues
and profits, and the mortgagor shall be entitled to collect and receive said rents, issues and profits until default under
any of the covenants, conditions or apreements contained in this mortgage,-and agrees to use such rents, issues.ang
profits in payment of principal and interest becoming due on this mortgage and in payment of taxes, assessments,
sewer rents, water rates and carrying charges becoming due against said premises, but such right ofthe mortgagor may
be revoked by the mortgagee upon any default, on five days' written notice. The mortgagor will not, without the

written consent of the mortgagee, recetve or collect rent from auy tenant of said premises or any par thereof for a
period of more than one mon in advance, and in the event of any déefiult under this mortgage il pay monthly in
advance to the mortgagee, or to any receiver * op inted to collect said rents, issues arid profits, the fair and reasonable
rental value for the use and occupation of salt premises or of such part thereof as may be’ in the possession of the
mortgagor, and upon default in any such payment will vacate and surrender the possession of said premises to the
mortgagee or to such receiver, and in default thereof may be evicted by suramary proceedings.

14, That the whole of said principal sum and the interest shall become du
failure to exhibit to the mortgagee, within

maintained in reasonably good repair; or (¢} after failure to.compl with an
i P Jat i juris iction over the premises within three

lawfully doing business in the State of
in the event of the removal, demolition or destruction in whole or in p
ced by similar fixtures, chattels and articles of

. f deducting, fromthe’ value-of land for the purpases'o “taxation any lien thereon; or
|| changing in any way the taxation of mortgages or debts secured thereby for state or local purposes, or (i) if the
i conditions or apreements contain in this

mortgage.

15. That the mortgagor will, in compliance with. Section 13 ofthe Lien Law, receive the advances secured hereby and
vances as a trust find to be applied first for the purpose of paying the cost of the

will hold the right to receive such a i
improvement and will apply the same first to the payment of the cost of the improvement before using any part of the

total of the same for any other purpose.

16. Ifthe mortgagor fails to pay any installment of principal or interest on any prior mortgage when the same becomes
due, the mortgagee may pay the same, and the mortgagor on demand will repay the amount so paid with interest theron
at the legal rate and the same shall be added to the mortgage indebtedness and be secured by thts mortgage.

17. That the execution of this mortgage has been duly authorized by the board of directors of the mortgagor.

Sritcouciewtt | 1, This mortgage is subject and subordinate to
amortgage in the erount of $645,000.00 from William F. Trinkle
to SunTrust Mortgage, Inc.

dated January 3,2007 , recorded on _ in Liber at page
in the office of
. amortpage in the amount of $ from

to . .

dated , recorded on in Liber at page
I in the office of
a mortgage in the amount of $ from

to

dated ,Fecorded on in Liber at page

in the office of

amortgage in the amount of $ from

.

dated , recorded on in Liber at page

in the office of :

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 14 of 20

This mortgage may not be changed or terminated orally, The covenants contained in this mortgage shall ran with
the land and bind the mortgagor, the heirs, personal representatives, SUCCESSOIS and assigns of the mortgagor and all
subsequent owners, encumbraticers, tenants and subtenants of the premises, and shall enure to the benefit of the
mortgagee, the’ personal representatives, successors and assigns of the mortgagee and all subsequent holders of this
mortgage. The word “mortgagor” shall be construed as if it read “mortgagors" and the word “mortgagee” shall be
construed as if it read “mortgagees whenever the sense of this mortgage so requires.

IN WITNESS WHEREOF, this mortgage has been duly executed by the mortgagor.
IN PRESENCE OF: _ GIGGLE

e

STATE OF NEW YORK } STATE OF NEW YORK )
) 65.2 } ss.:
COUNTY OF , county or New Yor do }
On the On ihe ist 4 4, 4 veh
&__ before me “he undersigned, personally appeared

before me, the undersi ersonallL appeared
° gned, personally 2PP Lett hige Ee Tvinhle

personally known to me or proved to.me on the basis of
~ isfactory evidence to be the individual(s) whose name(s) is satisfactory eviderioe to be the individual(s) whose nante(s) is
{are} subscribed to the within instrument and acknowledgedtome (are) subsoribed to the within instrument and acknowledged to me
.. that he/she/they executed the same in his/her/their capacity(ies), that he/she/they exeouted the same in his/her/their capacity(ics),
and that by his/her/their signature(s) on the instrument, the and that by his/her/their signaturefs) on the instrument, the —
individual(s), or:the person upon behalf of which the individual(s) _ individual(s), or the person upon. behalf of which the individual(s)
acted, executed the instrument acted, executed the instrument . , .

personally known to me or proved to me on the basis of

Signature and office of

Signature and office of
individual taking acknowledgment

individual taking acknowledgment
Ce Quali ot Nee Sepa 2011

" &* State, District of Columbia, Territory, Possession, or Foreign Country

) 38:

On the before me, the undersigned, personally appeared

personally known to me or proved to me on the basis of satisfactory evidence to
be the individual(s) whose name(s) is (are) subscribed to the within instrument and acknowledged to me that he/she/they executed the
same in his/her/their capacity(ies), and that by his/her/their signature{s) on the instrument, the individual(s), or the person upon behalf of
which the individual(s) acted, executed: the instrument, and that such individual made such appearance before the undersigned in the

(City or other political subdivision) (State or Country or other place the acknowledgment was taken)

Signature and office of
individual taking acknowledgment

** For acknowledgments taken outside of New York State.

eral
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10

Page 15 of 20

SECTION
/ fi ortgage BLOCK
(SUBORDINATE) : LOT
N . COUNTY OR TOWN
Tirte No. STREET ADDRESS
William F. Trinkle - Recorded At Request of
TO
Scott K, H. Bessent

RETURN BY MAILTO:

Zip No,

RESERVE THIS SPACE FOR USE OF RECORDING OFFICE

Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 16 of 20

Schedule A Description

Tite Number 07-20303-S-P Folicy Number: 1202023-0036260 Page 1

Ali that certaln plot, piece or parcel of land, situate, lying and being in the Town of
East Hampton, at East Hampton, County of Suffolk and State of New York, being
known. and designated as Lot 7 on a certain map entitled, "Map of 10A Ranch," said
map was filed In the Office of the Clerk of Suffolk County on 07-15-1999 as Map No.

10311,
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 17 of 20

AFFIDAVIT UNDER SECTION 253(1-a) OF THE TAX LAW

State of New York —} i C O py
County of New York —}ss: oe

SCOTT K.H. BESSENT being duly swom, deposes and says:

4. That | am the Mortgagee and a natural.person or thal we are the Mortgagees and are all
natural persons and we ali having signed this 253(1-a) Affidavit.

2. The mortgaged premises consist of real property improved by a structure coritaining six
restdentlal dwelling units or fess, each with separate cooking facilities.

3. The Mortgagor is WILLIAM F. TRINKLE..

- 4, The amount.of this mortgage is $2,000,000.00.

5, That exemption from further tax Is clalmed under Section 253(1-a) of the Tax Law as to the
sald Instrument herewith offered for recordirtg. oo , ,

Mortgagee

-day of August, 2008

7: pio before me this

Notary Public

Noles:

must be natural persons. An attomey cannot make this Affidavit on behalf

4. All morigagees must sign this Affidavit and all 7 d
dable form and a letter as to why their client cannot sign this Affidavit,

of thelr cent wihout a Power of Attomey in racor

2. Mortgagor dogs not have to be a natural person.
Case 1:10-cv-04908-RJS Document1 Filed 06/23/10 Page 18 of 20

Exhibit B
Case 1:10-cv-04908-RJS Documerk iled 06/23/10 Page 19 of 20

BLANK ROME w
COUNSELORS AT LAW
Phone: (212) 885-5455
Fax: (917) 332-3792
Email: PSaltomon@BlankRome.com
April 30, 2010
BY REGISTERED MAIL --

RETURN RECEIPT REQUESTED

Mr. William F. Trinkle
174 Cedar Street
East Hampton, New York 11937

Mr. William F. Trinkle

252 Seventh Avenue

Apt. 18C

New York, New York 1000]

Mr. William F. Trinkle
Francis Realtors

305 1° Street S.W.
Roanoke, Virginia 24011

Re: Mortgage Note

Dear Mr. Trinkie:

This Firm represents Mr. Scott K.H. Bessent and on his behalf, I write regarding your
default in the payment of two-million dollars ($2,000,000) in principal, together with accrued
interest, that was due and owing on March 31, 2010, pursuant to the Mortgage Note, dated
August 15, 2008 (hereinafter the “Note”), that you executed on even date. For your reference, |
am enclosing herewith a copy of the Note and the Mortgage, dated August 15, 2008, securing the

Note.

More specifically, you executed the Note where you promised to pay Scott K.H. Bessent
the principal sum of two-million dollars ($2,000,000.00) by March 31, 2010. Additionally, you
covenanted to pay Mr. Bessent monthly interest on the principal amount at the rate of 5.8 percent
(5.8%) per annum, to be compounded if not paid. The Note provides in pertinent part:

“The entire principal together with any accrued
interest shall be due and payable on or before
March 31, 2010.”

The Chrysler Building 405 Lexington Avenue New York, NY 10174-6208
www.BlankRome.com
900200.00001/6880272v.1

California =» Delaware « Florida + NewJersey © NewYork = Ohio * Pennsylvania * «Washington, OC == ~~ Hong Kong
Case 1:10-cv-04908-RJS Docume
BLANK

Filed 06/23/10 Page 20 of 20
PROMEw

COUNSELORS AT LAW

Mr. William F. Trinkle
April 30, 2010
Page -2-

You have defaulted on this express obligation. Please accept this letter as a demand for the
immediate, full payment.

Please be further informed that upon your default on March 31, 2010, interest now

accrues at the default rate of 11.6 percent (11.6%) until payment in full is received by Mr.
Bessent. You have also agreed that under the circumstances of default, you will pay all of Mr.
Bessent’s legal fees relating to, and the costs of, collecting the amounts due and owing pursuant

to the Note.

As you are no doubt aware, the Mortgage, dated August 15, 2008, between you, as the
mortgagor, and Mr. Bessent, as mortgagee, secures the payment of your indebtedness, as more
specifically defined in the enclosed Note. You have not only mortgaged to Mr. Bessent the
property set forth in Schedule A to the Mortgage but also covenanted, as relevant here, to pay
two-million dollars ($2,000,000.00) together with interest at 5.8 percent (5.8%) per annum.
Again, you have defaulted on this express obligation.

Finally, if you do not pay forthwith the full amount due and owing, then pursuant to
Paragraph 7 of the Mortgage, I hereby request that you furnish to me, within ten (10) days of
réceipt of this letter, a written statement duly acknowledging the amount due on the Mortgage.
In this regard, kindly state whether you contend that there are offsets or defenses against the

mortgage debt and if so, please identify them with specificity.

It is my sincerest hope that you will fulfill your contractual responsibilities under the
Note and Mortgage by paying all amounts due, owing and outstanding. Obviously, your failure
to make the requisite payments will leave Mr. Bessent with no choice but to enforce his rights
and to pursue all available remedies permitted by law. I look forward to your favorable reply.

Nothing in this letter should be deemed, construed, or interpreted as a waiver of Mr.
Bessent’s rights, all of which are hereby expressly preserved.

Very truly yours, —
—lalgpe M. abave
Philippe M. Salomon

PMS:aea
Enclosures

ce: Mr. Scott Bessent

900200.00001/6880272v.1
